 Case: 23-50224     Document: 341     Page: 1    Date Filed: 05/23/2025




        United States Court of Appeals
             for the Fifth Circuit
                                                                  United States Court of Appeals
                                                                           Fifth Circuit


                          _____________                                  FILED
                                                                     May 23, 2025
                            No. 23-50224                            Lyle W. Cayce
                          _____________                                  Clerk

Leila Green Little; Jeanne Puryear; Kathy Kennedy;
Rebecca Jones; Richard Day; Cynthia Waring; Diane
Moster,

                                                    Plaintiffs—Appellees,

                                 versus

Llano County; Ron Cunningham, in his official capacity as Llano
County Judge; Jerry Don Moss, in his official capacity as Llano County
Commissioner; Peter Jones, in his official capacity as Llano County
Commissioner; Mike Sandoval, in his official capacity as Llano County
Commissioner; Linda Raschke, in her official capacity as Llano County
Commissioner; Amber Milum, in her official capacity as Llano County
Library System Director;

                                      Defendants—Appellants.
              ______________________________

              Appeal from the United States District Court
                   for the Western District of Texas
                        USDC No. 1:22-CV-424
              ______________________________
 Case: 23-50224           Document: 341        Page: 2     Date Filed: 05/23/2025

                                          No. 23-50224




Before Elrod, Chief Judge, and Jones, Smith, Wiener, Stewart,
Southwick, Haynes, Graves, Higginson, Willett, Ho,
Duncan, Engelhardt, Oldham, Wilson, Douglas, and
Ramirez, Circuit Judges.

              JUDGMENT ON REHEARING EN BANC

       This cause was considered on the record on appeal and was argued by
counsel.
       IT IS ORDERED and ADJUDGED that the preliminary
injunction is REVERSED, that judgment is RENDERED dismissing
plaintiffs’ Free Speech claims, and that the case is REMANDED for further
proceedings consistent with this opinion.
       IT IS FURTHER ORDERED that Appellees pay to Appellants
the costs on appeal to be taxed by the Clerk of this Court.
       Ten judges join Parts I–III of this opinion and the judgment (Chief
Judge Elrod and Judges Jones, Smith, Haynes, Willett, Ho,
Duncan, Engelhardt, Oldham, and Wilson). Seven of those
judges join the opinion in full (Judge Jones, Smith, Willett, Ho,
Duncan, Engelhardt, and Oldham).
       James C. Ho, Circuit Judge, concurring.
       Stephen A. Higginson, Circuit Judge, joined by Wiener,
Stewart, Southwick, Graves, Douglas, and Ramirez, Circuit
Judges, dissenting.




       
           Judge Richman was recused and did not participate in the decision.




                                               2
